    Case 1-17-45189-ess    Doc 59-3    Filed 04/13/18   Entered 04/13/18 18:17:12




                    UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF NEW YORK

                       FEE APPLICATION COVER SHEET

Case Name and Number:

LW RETAIL ASSOCIATES, LLC                                  Case No. 17-45189 (ESS)


CASE FILED: October 5, 2017

CHAPTER: 11

APPLICANT: DelBello Donnellan Weingarten Wise & Wiederkehr, LLP

ROLE IN CASE: Attorneys for Debtor-in-Possession


         COMPLETION OF THIS FORM CONSTITUTES A CERTIFICATION
                    UNDER PENALTY OF PERJURY.


                                          /s/ Dawn Kirby              4/13/18
                                          SIGNATURE OF APPLICANT        DATE
______________________________________________________________________________

                                         SECTION I
                                       FEE SUMMARY

TOTAL PREVIOUS FEES & COSTS REQUESTED:                                  $ 60,698.90

TOTAL FEES & COSTS ALLOWED TO DATE:                                     $      0.00

TOTAL RETAINER (IF APPLICABLE)                                          $    546.10

TOTAL HOLDBACK (IF APPLICABLE)                                          $     0.00

TOTAL INTERIM PAYMENTS RECEIVED BY APPLICANT                            $     0.00

TOTAL RECEIVED BY APPLICANT                                             $   546.10



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                           PROFESSIONAL SERVICES SUMMARY

NAME OF PROFESSIONAL & TITLE                            RATE       HOURS         FEE

Jonathan S. Pasternak   Partner                          $558          1.10 $    613.80
Dawn Kirby              Partner                         $463.50       107.4 $ 47,925.90
Virginia K. Trunkes     Partner                         $425.00         0.7 $    297.50
Lee S. Wiederkehr       Partner                          $395           2.9 $ 1,145.50
Julie C. Curley         Partner                          $369           3.3 $ 1,217.70
Eric Mandell            Associate                        $315          27.7 $ 8,793.50
Daisy Pons              Paralegal                        $135           0.6 $     75.00


                                                                     143.70    $60,068.90

                              COMPENSATION BY WORK TASK

TASK CODE                           DESCRIPTION                     HOURS         FEE

00                                                                       0.0 $         0
01               Asset Analysis and Recovery                             0.0 $         0
02               Asset Disposition/Sales                                 0.0 $         0
03               Business Operations                                     0.0 $         0
04               General Case Administration                            12.2 $ 5,418.30
05               Claims Administration and objections                   13.4 $ 5,899.05
07               Fee/Employment Applications                             0.9 $    417.15
10               Litigation                                             58.7 $ 22,998.05
11               Meeting of Creditors/341A                               8.8 $ 4 ,078.80
12               Plan and Disclosure Statement                           0.0 $         0
13               Relief from Stay Proceedings                           28.6 $ 12,329.10
14               Schedules                                               0.0 $         0
15               Operating Statements                                    0.5 $    231.75
16               Cash Collateral                                        20.6 $ 8,696.70
17               Lease Issues                                            0.0 $         0
18               Tax Issues                                              0.0 $         0


TOTAL                                                                  143.7    $ 60,068.90

 APPLICATION FEE TOTALS - Page 2                                               $ 60,068.90
 APPLICATION DISBURSEMENT TOTALS - Page 3                                      $ 5,894.44
 BLENDED HOURLY RATE** :                                                       $    418.02
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                               SECTION II
                       SECTION OF DISBURSEMENTS

            DISBURSEMENTS                                        AMOUNT

     a)    Binding                                          $        20.00
     b)    Photocopies                                      $     1,892.50
     c)    Prints – Black /White                            $       109.56
     d)    Prints – Color                                   $         0.30
     e)    Postage                                          $        64.82
     f)    Federal Express                                  $       464.71
     g)    Filing Fees                                      $     1,717.00
     h)    Westlaw                                          $       251.55
     i)    Misc. Filing Fees                                $     1,200.00
     j)    Travel                                           $       174.00



           DISBURSEMENT TOTAL:                               $     5,894.44




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                                     SECTION III
                                    CASE HISTORY


(1)     DATE CASES FILED:        October 5, 2017

(2)     CHAPTER UNDER WHICH CASES WERE COMMENCED:                      Chapter 11

(3)     DATE OF RETENTION:      Nunc pro tunc, as of October 5, 2017

(4)     PRIOR APPLICATION HISTORY: None.


                   SECTION IV - BREAKDOWN OF CASE MATTERS

                                       See Attached




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